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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA
                                   NEW ORLEANS DIVISION

RACHEL MADDOX, SHANNON MADDOX,       )
                                     )
                 Plaintiff,          )                                        CIVIL ACTION
       vs.                           )
                                     )                                        NO. 12-1641
INTEGRO USA, INC., INTEGRO INSURANCE )
BROKERS, CHRISTIAN CONGREGATION OF )                                          SECTION “N”
JEHOVAH’S WITNESSES, WATCHTOWER      )
BIBLE AND TRACT SOCIETY OF NEW YORK, )                                        MAGISTRATE (1)
INC., WESTWEGO CONGREGATION OF       )
JEHOVAH’S WITNESSES, INC., PATRICK   )
VICTOR, KATHY VICTOR                 )
                                     )
                 Defendants.         )

           CHRISTIAN CONGREGATION OF JEHOVAH’S WITNESSES’
        MEMORANDUM IN SUPPORT OF MOTION FOR PROTECTIVE ORDER

MAY IT PLEASE THE COURT:

        Defendant Christian Congregation of Jehovah’s Witnesses seeks an order stopping (1)

discovery for Plaintiffs’ theory of “clergy malpractice;” (2) discovery of Defendant’s financial

data, (3) the deposition of Willie Huguley, and (4) any other harassing depositions. Plaintiffs’

theory of liability is based upon religious principles, not legal duties. Plaintiffs’ are drawing the

Court into issues of religious conduct, wasting time and resources, harassing Defendant and oth-

ers, by seeking a prima facie case from ecclesiastical, not legal duties. Their pleadings, corre-

spondence with the Court, and questions posed to Willie Huguley, show that they posit a legal

duty from Holy Scripture.1 Defendant’s Motion for a Protective order will avoid a violation of

the First Amendment and properly limit discovery under Fed. R. Civ. Pro. 26(c).

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  Petition ¶ XXV (Document 1-1) and email to Magistrate’s Chambers, 29 April 2013, 11:38 p.m., insisted that De-
fendant gave Plaintiffs’ mother, Patsy Maddox, the Decedent, “assurances of safety, care, custody, and control”
(Document 1-1, ¶ XXV), and that Defendants “confuse their admitted legal obligations and duties of care, custody
and control over the elderly, infirm and disabled (email, emphasis added). See also Transcript of Willie Huguley’s
deposition (included herewith as document 85-2, page 122, line 25 – page 126, line 6) (reference to 1 John 3:17 as
premise for cross examination on duty of elders).


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I. NATURE AND STAGE OF THE PROCEEDINGS

          This case was removed to this Court by defendants from the Twenty-fourth Judicial Dis-

trict Court, Parish of Jefferson (Document 1, et seq.); Plaintiffs sought remand (Document 19),

which this Court denied, and in the same order dismissed the Louisiana defendants. (Document



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26). After motions and amendments to dismiss and add insurance parties, and a demand for jury

trial, defendants filed summary judgment motions (Documents 59, 60, 61) and the Court dis-

missed Watchtower Bible and Tract Society of New York, Inc., but denied the motions of De-

fendant and its insurer Old Republic to allow Plaintiffs time for discovery (Document 78). After

motions for more discovery time and a trial continuance, Plaintiffs filed a Motion to Compel the

continuation of Huguley’s deposition (Document 83), which Defendant opposes and seeks pro-

tection herein for the reasons assigned, and for other reasons.

II. STATEMENT OF ISSUES.

       A. “REASONABLY CALCULATED.”

               1. Religious Principles.       Can Plaintiffs’ attempted and anticipated discovery

into the application of religious principles by elders, overseers, and others with regard to prepa-

rations for and operations of a religious gathering be deemed reasonably calculated to lead to the

discovery of admissible evidence when the Constitution of the United States prohibits its courts

from enforcing religious principles as law?

               2. Financial Data.     Can Plaintiffs’ attempted and anticipated discovery into the

financial affairs of a religious organization such as Defendant and how those finances are han-

dled for the operation of a religious gathering be deemed reasonably calculated to lead to the dis-

covery of admissible evidence when the Constitution of the United States prohibits governmental

interference with the financing of worship?

               3. Repetitive and Harassing Questions.        Can Plaintiffs’ attempted and antici-

pated discovery by repetitive, argumentative, and harassing questions in depositions of defense

witnesses or those who are aligned with Defendant be deemed reasonably calculated to lead to

the discovery of admissible evidence when the witnesses do not have personal knowledge of the

information sought, would seek the information elsewhere, or have no ability to indicate who



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might have such personal knowledge or where documents might be found containing such in-

formation?

       B. STANDARD OF REVIEW

       The standard of review for the issues stated above is in Fed R. Civ. Pro. 26(c) that protec-

tive orders may be issued “to protect a party or person from annoyance, embarrassment, oppres-

sion, or undue burden or expense,” which by definition would be discovery that goes beyond the

scope defined in Fed. R. Civ. Pro. 26(b)(1). The Court may order (1) that there be no discovery,

(2) discovery under specific terms set by the court, (3) another method of discovery, (4) limited

discovery, (5) in camera inspection, and other methods to assure that the interests of discovery

are served while the bona fide needs for protection are met.

III. SUMMARY OF ARGUMENT.

       Plaintiffs have gone beyond the scope of discovery allowed under Fed R. Civ. Pro.

26(b)(1) because they seek information that delves into the religious principles guiding the con-

duct of Christian worship and life and the finance of the Christian ministry. They have burdened

and harassed a Christian minister with questions about the foregoing and about other topics for

which he has no knowledge and is not likely to have answers to questions relevant to discovery.

Defendant anticipates the likelihood of similar deposition questions. These topics and methods

go beyond discovery that would be reasonably calculated to lead to discovery of admissible evi-

dence because they delve into topics governed by religious principles, not legal duties, and they

harass deponents with needlessly repetitive and harassing questions they cannot answer. To the

extent Plaintiffs seek to impose legal liability for what they perceive to be a breach of religious

principles there can be no discovery because that would require the Court to engage in ecclesias-

tical judgments rather than legal ones in violation of the First Amendment.




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IV. LAW AND ARGUMENT

       A. NO DISCOVERY INTO RELIGIOUS CONDUCT.

               1. Plaintiffs demonstrated their intent to make religion the issue.

       Plaintiffs’ counsel took the deposition of Willie Huguley on 10 April 2013, arranged by

consent with defense counsel. Plaintiffs’ counsel spent three and one-half hours asking questions

about the conduct of the elders for the English Congregation of Jehovah’s Witnesses, Westwego,

Louisiana (“English Congregation, Westwego” identified colloquially as “English Westwego

Congregation”). He focused on how the elders fulfilled their Scriptural commission to shepherd

the widows, the elderly and the disabled members of the congregation. Finally, defense counsel

called an end to the deposition when he could get no cooperation from Plaintiffs’ counsel. See

the transcript of the deposition of Willie Huguley, Document 85-2, page 204, line 1 – page 212,

line 16 (referred to hereafter as “Huguley, 85-2, p. ___, l. ___.”).

       Plaintiffs’ deposition questions for Huguley demonstrate two ways in which their discov-

ery focus on religious conduct goes outside the scope allowed by Fed. R. Civ. Pro. 26(b)(1): (1)

They seek a link between the operation of the District Convention and former defendant West-

wego Congregation of Jehovah’s Witnesses, Inc. (“Westwego, Inc.”) by confusing the corpora-

tion with the ecclesiastical body, and (2) they used religious principles for legal duties.

                       a. There is no link between Westwego and the Convention.

       Plaintiffs’ counsel’s purpose became obvious when he sought, not information about

safety and seating as stated in the Opposition to Defendant’s Motion for Summary Judgment

(Document 67), but information to establish a link between the operation of the District Conven-

tion and Westwego, Inc. There is no such link. This Court dismissed Westwego, Inc. on Plain-

tiff’s Motion to Remand (Document 26). The Court accepted

       the affidavit of Willie F. Huguley, the President of Westwego, who states that



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        Westwego exists solely to own the Kingdom Hall in Westwego. Mr. Huguley de-
        nies that Westwego had any role in planning or organizing the District Conven-
        tion or in arranging Ms. Maddox’s attendance thereof. As Westwego did not co-
        ordinate with CCJW and Watchtower to coordinate the convention, there is no ba-
        sis for liability against Westwego for the same reasons articulated above regard-
        ing the Victors. Plaintiffs’ claims against Westwego are dismissed.

        “Order and Reasons,” denying Motion to Remand, granting Motions to Dismiss (Docu-

ment 26, p. 10). Plaintiffs’ counsel did not ask Mr. Huguley any questions about his affidavit.

He did not ask him any questions about the ownership of the Kingdom Hall.

        Counsel for Plaintiffs instead confused the identities of the corporation organized solely

for the purpose of owning the Kingdom Hall, Westwego, Inc., with the unincorporated associa-

tion of worshippers, English Congregation, Westwego, and the corporation that organized the

District Convention in Mobile, Alabama July 2011, Christian Congregation of Jehovah’s Wit-

nesses, Defendant herein. See generally Huguley, 85-2, p. 17, l. 16 – p. 36, l. 21 for the full ex-

tent of counsel’s obfuscation despite the witness’ statements that he did not know the answers

and his plea “can I get back with you on that to make sure?” Id., p. 36, ll. 7 – 8.

        Initially, counsel misrepresented a connection between English Congregation, Westwego

and Defendant, then wrapped that in another misrepresentation by calling Defendant “Christian

Congregation of Jehovah's Witnesses, Inc.” which immediately confused Mr. Huguley because

of the suffix “Inc.”2 Huguley, 85-2, p. 17, l. 20 – p. 18, l. 6. That triggered a question and an-

swer exchange in which counsel tried to hold the witness to “yes” or “no” answers that made the

matter worse and required an enormous amount of time that did nothing for Plaintiffs’ case. Id.

p. 18, l. 6 – p. 36, l. 18.

        Counsel moved from the identity of Defendant to the identity of the local congregation,


2
  Note that the La. and N.Y. Secretaries of State registrations do not have “Inc.” in the corporation name (Docu-
ments 85-3 and 85-4). Counsel for Defendant must confess that he has lapsed into adding an “Inc.” at the end of his
client’s name out of lawyerly habit but had the fact driven home for him during the Huguley deposition that the usu-
al suffix is absent in this case.


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but had Mr. Huguley so confused he did not know the name of the corporation for which he

serves as president. He had him state that the unincorporated association, English Congregation,

Westwego, was a chartered entity by the State of Louisiana. Id., p. 34, l. 19 – p. 35, l. 2. The

Louisiana Secretary of State’s database, http://www.sos.la.gov/tabid/819/default.aspx, has no

entry for any name containing the words “English,” “Westwego,” and “Congregation” in any

order. Counsel for Plaintiffs used the correct name for “Christian Congregation of Jehovah’s

Witnesses,” without the usual and customary suffix “Inc.” on the Citation and Petition (Docu-

ment 1-1). He had the Clerk of Court in Jefferson Parish serve Willie Huguley with that Petition

as one of the registered agents of “Westwego Congregation of Jehovah’s Witnesses, Inc.”

Plaintiffs’ counsel knew the correct names of the legal entities, and he knew there was no regis-

tered entity with the Secretary of State named “English Westwego Congregation of Jehovah’s

Witness” or “English Congregation of Jehovah’s Witness, Westwego, Louisiana”            because he

must be charged with knowledge of information in the public record about the corporations

against whom he filed suit on behalf of his clients.

       With that knowledge, he purposefully asked Mr. Huguley about his knowledge of Stanley

Singletary as a person associated with Christian Congregation of Jehovah’s Witnesses in New

York (Huguley, 85-2, p. 33, ll. 1 – 8) when Mr. Singletary is instead Defendant’s registered agent

in Baton Rouge. La. Sec. of State Report for Defendant (Document 85-3). Counsel focused the

witness’ attention on people in New York to confuse him, not gain information. Id.

       Plaintiff’s counsel, knowing that Mr. Huguley identified himself as the president of

Westwego, Inc. and attached the Secretary of State’s webpage to his affidavit, never mentioned

that during his examination when Mr. Huguley displayed confusion about the entities for which

counsel wanted information, despite Mr. Huguley’s offer to “get back with you on that to make

sure.” See Huguley, 85-2, p. 36, l. 7. See also p. 33, l. 10 – p. 34, l. 25 wherein counsel asked if



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the congregation where he worshipped was the former defendant Westwego, Inc. and Huguley

answered “yes,” but then corrected it to say it was the “English Westwego Congregation” and

assented to counsel’s prompting that the congregation was a chartered entity. See also Docu-

ment 24-1, referenced in this Court’s order, Document 26. Ultimately, Mr. Huguley had to ask

“Can I get back with you on that to make sure?” Counsel then told him to “just tell me what you

know,” to which Mr. Huguley replied “[w]ell, as far as I know, I don’t know that.” Counsel then

confirmed the fact, obvious from the beginning, “Okay. You’re not sure?” and Mr. Huguley

acknowledged, “Right.” Id., p. 36, ll. 7 – 13.

        See Defendant’s Opposition to Plaintiffs’ Motion to Compel for an exegesis of how

Plaintiffs’ counsel used the suffix “Inc.” as a tool to rattle his witness. For the purposes here,

note that the nineteen pages of transcript the exchange took between that first question with

“Inc.” to the ultimate statement by Mr. Huguley that he was not sure, id., p. 17, l. 25 – p. 36, ll. 7

– 13, included this particularly offensive passage:

        Q. Okay. And you don't think it has Inc. on it or anything like that, right?
        A. Well, I don’t know. I never seen it.
        Q. Right. To your knowledge. Now, I’m not asking you to speculate. I’m asking
        you to tell me what you know. It’s not a test. I just need the truth from you. Fair
        enough?
         A. Yes.
        Q. You know you’re under oath, right?
        A. Yes.

Id., p. 28, l. 19 – p. 29, l. 4 (emphasis added). The exchange progressed further about Defend-

ant’s name, but it took counsel another two pages of transcript to establish what he already knew;

Defendant is a corporation. Id., p. 29, l. 5 – p. 31, l. 14.

        After identifying finally that Defendant is a New York corporation, counsel asked a final

question about religious appointments in the local congregation, id., p. 31, ll. 15 – 20, that sum-

marized his questions at id., p. 12, l. 19 – p. 17, l. 4; p. 24, l. 19 – p. 29, l. 24 as part of his theory




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stated in paragraph V of the Petition that

       CCJW, Watchtower and Westwego work together as an integrated national organ-
       ization with, and or for the benefit of, the defendants, as if one organization, with
       a clear and identifiable hierarchal, connected structure. CCJW, Watchtower and
       Westwego routinely solicited in Louisiana for attendance at such District Conven-
       tions locally and nationally, through which the attendance of Patsy L. Maddox and
       others similarly situated and/or in similar condition were solicited and/or promot-
       ed.

       Document 1-1 (italics in original). This is nothing but a theory of “clergy malpractice”

that seeks to link the former defendants to the present Defendant via common religious principles

through confusing questions to deponents that can raise no genuine issues of fact but attempt

nonetheless to make a legal case out of the fact that people and corporations organized for the

purpose of furthering the worship of Jehovah’s Witnesses share the same religious principles.

This theory ignores the salient fact that these organizations have clearly defined separate legal

and business entities and roles. As the Court ruled on the Motion to Remand (Document 26),

there is no link between the former defendants and the Defendant.

       Despite Plaintiffs’ allegation that unified principles of worship equate to an “identifiable

hierarchal, connected structure,” they know this is not true. They stated in Paragraph III of their

Petition that their mother was one of Jehovah’s Witnesses her entire life. Id. That is, they were

raised in a household that shared the same religious principles as Jehovah’s Witnesses. They

grew up knowing that the worship of Jehovah’s Witnesses is supported by individual, voluntary

donations of time, money, and effort organized through separate entities. They grew up knowing

that each separate organization is composed of individuals who share the same faith but volun-

teer their time to different work. This is confirmed by their identical affidavit testimony in oppo-

sition to Defendants summary judgment motion (Documents 67-3, 67-4, 68-3, 68-4, 69-3, and

69-4, in ¶ 3 of each), in which they admitted to having been active and practicing members of the

English Congregation, Westwego from birth until 20 (Rachel) and 21 (Shannon) years of age, or



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about half and two-thirds of their lives, respectively.

       Defendant’s Responses to Plaintiff’s Interrogatories, included herewith (Document 85-5),

confirm that individual volunteers did the convention work with Defendant responsible for the

premises as the lessor. Responses to Interrogatories Nos. 1 and 7 gave the names of those with

oversight for the convention, qualified volunteers from different states and towns. The Respons-

es to Interrogatories Nos. 9 and 10 showed that the relationship between Defendant, English

Congregation, Westwego, and Watchtower Bible and Tract Society of New York, Inc. is merely

one of shared religious faith but does not include shared responsibility for organizing any events

such as a convention. The Response to Interrogatory No. 14 explained that the attendants were

individual volunteers who chose to work at the convention. The Response to Interrogatory No.

15(B) explained that all the volunteers responsible for the convention worked without any com-

pensation so there was no “budget.” The Response to Requests for Admission Nos. 10 and 11

denied that Defendant and Westwego, Inc. and Watchtower Bible and Tract Society of New

York, Inc. “work together on a national level to organize all conventions for its members.”

       Response to Request for Production No. 6 explained that no invitations for the conven-

tion were sent to “members” of Defendant. See also Responses to Requests for Admission Nos.

2 and 3 (“members” invitations). That is, Defendant is a membership corporation and its “mem-

bers” are not what Plaintiffs’ counsel understood by the term when he used it because he con-

ceived of Defendant’s members as all of Jehovah’s Witnesses when they are not and could not

conceivably be members of the corporation that is used for the particular work for which it was

formed. To make this particularly clear, Defendant is a New York, non-profit, 501(c)(3) reli-

gious corporation (Response to Request for Production No. 8) formed by Jehovah’s Witnesses to

conduct particular business, which is separate from the unincorporated association of worship-

pers that constitutes the English Congregation, Westwego, is separate from the non-profit corpo-



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ration Watchtower Bible and Tract Society of New York, Inc., and which is separate from the

corporation Westwego, Inc., all of which entities serve different purposes but their members

share the same faith and are Jehovah’s Witnesses. The District Convention was organized by De-

fendant through the efforts of qualified volunteers from the states and towns in the vicinity of the

convention locale. Patsy Maddox’ local congregation and the corporation that owned the King-

dom Hall where she worshipped had nothing to do with organizing the District Convention she

attended on 1 July 2011 in Mobile, Alabama.

        This Court should protect her local elders and members of her congregation from harass-

ing discovery by Plaintiffs in their attempt to make a case where there is none, and for which this

Court has already ruled there is none. Rule 26 demands that the scope of discovery be limited by

the issues in the case. The English Congregation, Westwego, its members, and Westwego, Inc.

are no part of this case and outside the scope of discovery, except those who witnessed some-

thing having to do with how Patsy Maddox fell, why she fell, and what the damages might be in

this case. Except for those issues, the local congregation members should be “Off Limits.”

                        b. There are no facts to base liability on religious principles.

        Though Plaintiffs hoped to show that the local elders in Westwego had some convention

oversight merely by their role as elders in the local congregation, there is no such proof. They

know that is not the case and Willie Huguley, the local coordinating elder, knows no names of

anyone responsible for organizing the convention in Mobile. Huguley, 85-2, p. 50, l. 11 – p. 53,

l. 8. If anyone of the local elders had any convention oversight responsibilities he would logical-

ly have been involved, but, as he testified, the congregation’s only assignment was to help clean

afterwards, and if any wanted to serve as attendants they could, but he knew of none for sure

who did. Id., p. 137, l. 23 – p. 143, l. 12.

        These facts establish no more than voluntary fulfillment of religious principles as set out



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in “Huguley Exhibit 1” that is also Document 59-1, pp. 11 – 17 of 18. That exhibit provides the

scriptural basis for volunteer service at the convention on p. 17 of 18, stating that happiness

gained from attendance would be greater from volunteering with the work needed by reporting to

the Volunteer Service Department and children could volunteer too with their parents.

        Contrary to these facts, and his clients own admissions that they lived their entire child-

hood and early adulthood as Jehovah’s Witnesses, Plaintiffs’ counsel revealed that his theory-of-

the-case was not based upon the breach of a legal duty, but was tied to the way elders fulfilled

their Scriptural commission to assist Patsy Maddox and others. Focusing on “Exhibit 1” (Docu-

ment 59-1, pp. 11 – 18 of 18), counsel asked Mr. Huguley about the commission to assist those

in need, citing 1 John 3:17, 18. Huguley, 85-2, p. 122, l. 23 – p. 123, l. 23. From Mr. Huguley’s

answer, he then sought to derive a duty to assure that Patsy Maddox got to the Convention. Id.,

p. 123, l. 24 – p. 125, l. 6.

        Defendant determined the ministry territory for the local congregation. Id., p. 125, l. 7 –

p. 129, l. 10. Counsel asked about the adequacy of seats for the elderly. Id., p. 129, ll. 11 – 17.

He asked about donations, found that congregations received none from conventions, and that

Huguley knew not where they went. Id., p. 129, l. 18 – p. 130, l. 5. He asked about the materials

for identifying convention risks but Mr. Huguley had nothing to offer. Id., p. 130, ll. 6 – 14. He

asked about a “census” for the convention, as a whole and from Westwego; there was no “cen-

sus,” only a total head count. Id., p. 130, l. 15 – p. 131, l. 10. Mr. Huguley could not say who

was responsible for the convention, Defendant or “the brothers in Mobile” Id., p. 131, l. 19 – p.

132, l. 24. Huguley stated that the local congregation kept a list of elderly and infirm that named

Patsy Maddox with about 20 others, but that the list was used only for the congregation elders to

shepherd their needs and was not provided to Defendant for convention purposes. Id., p. 114, l.

21 – p. 115, l. 25; p. 178, l. 4 – p. 179, l. 5; p. 186, l. 19 – p. 196, l. 21.



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       Mr. Huguley testified that the floor and the “blue” section were reserved for the elderly.

Id., p. 132, l. 25 – p. 133, l. 9; p. 143, l. 13 – p. 145, l. 3; p. 166, ll. 7 – 16. The exhibits

(Document 85-6) show the floor seating, pull-out bleachers, and photos with blue seats in a mez-

zanine area on the main entrance level above the floor. A visual estimate of that area shows that

about half of the space in the arena was dedicated to seating for the elderly and disabled, which

militated against Plaintiffs’ theory of inadequate seating and established that Patsy Maddox ar-

rived after the arena was full.

       Despite counsel’s fervent attempts to identify something from Mr. Huguley’s testimony

that would support his case, his questions merely demonstrated that his case was about creating

legal duties out of religious principles:

       Okay. At your church I’m understanding that you probably practiced the Christian
       principles of taking care of the widows, right? Id., p. 114, ll. 21-24.
       Was Patsy Maddox within that group of people called widows that your church
       took care of? Id., p. 115, ll. 3-5.
       Did you assist her when she was feeble and frail and unable to get around? Id., p.
       115, ll. 14-15.
       So insofar as Patsy Maddox was concerned, she wasn’t on the list of people that
       you considered a widow in need of assistance? Id., p. 115, ll. 19-22.
       So in terms of your organization at the local level, you had not identified Patsy
       Maddox as somebody that needed assistance, correct? Id., p. 116, ll. 22-25.
       So would it have been the responsibility in your church for your church to see that
       if Patsy Maddox needed assistance driving or riding to the convention from New
       Orleans to Mobile, that she had a ride? Id., p. 123, l. 24 – p. 124 l. 3.

       On pages 186 – 189, counsel for Plaintiffs peppered Mr. Huguley with questions about a

list of congregation members that the elders identified as needing assistance, as part of their

commission to care for those in need:

       What you know is that there was a list kept by your church of the elderly and in-
       firm and Patsy Maddox was on it, correct? Id., p. 186, ll. 19-21.
       You saw the list. Id., p. 186, l. 23.
       You have the list. Id., p. 186, l. 25.



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        Where is that list? Id., p. 187, l. 4.
        What did you do with the list? Id., p. 187, l. 6.
        Okay. And when did you post it? Id., p. 187, l. 10.

        This went on for two more pages of deposition transcript. Id., p. 187, l. 11 – p. 189, l. 9.

Counsel then spent the next few pages of transcript questioning which elders were responsible

for taking care of the elderly and infirm. Id., p. 189, line 11 – p. 190, l. 24.

        This sampling and the questions referenced herein about elders’ compliance with the

Scriptural commission to care for the needs of widows and others in the congregation demon-

strates a violation of Defendant’s and the witness’ rights to free exercise of religion. U. S. Const.

Amend. I. It also violates the prohibition against the establishment of religion, id., because

Plaintiffs would make a religious principle enforceable as a legal duty in this Court, which would

require this Court to become an ecclesiastical rather than a legal forum.

                2. The law forbids discovery into religious conduct.

        “[T]he First Amendment severely circumscribes the role that civil courts may play in

resolving” religious issues, and “requires that [they] defer to the resolution of [such] issues” by

the church. Jones v. Wolf, 443 U.S. 595, 602, 99 S.Ct. 3020, 3025, 61 L.Ed.2d 775 (1979). The

Constitution precludes courts from adjudicating religious issues that would implicate “secular

interests in matters of purely ecclesiastical concern.” Serbian Eastern Orthodox Diocese v. Mili-

vojevich, 426 U.S. 696, 710, 96 S.Ct. 2372, 2381, 49 L.Ed.2d 151 (1976). The First Amendment

denies courts “jurisdiction to settle purely ecclesiastical disputes;” it prohibits “governmental

interference in ecclesiastical matters” without “a compelling governmental interest;” and court

“incursions” must avoid interfering with beliefs and internal decisions of the religious society.”

Simpson v. Wells Lamont Corp., 494 F.2d 490, 492, 493 (5th Cir. 1974). “The law is clear: civil

courts are barred by the First Amendment from determining ecclesiastical questions.” Id. at 493.

        The First Amendment, however, does not categorically insulate religious relationships


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from judicial scrutiny. Sanders v. Casa View Baptist Church, 134 F.2d 331, 335 (5th Cir. 1998).

A “counseling relationship between a minister and his or her parishioner,” which is protected

from incursion by the judiciary, is not the same as a professional relationship. Id. at 336. Clergy

who breach the standards of professional counseling are liable despite the Free Exercise Clause,

which is not a shield for clergy torts. Id., and Malicki v. Doe, 814 So.2d 347 (Fla. 2002).

           Plaintiffs’ cause of action is commonly called “clergy malpractice,” and usually arises

out of a close relationship with improper conduct causing psychological harm. See Schmidt v.

Bishop, 779 F. Supp. 321 (S.D.N.Y. 1991) where a minister exploited the religious bond for sex-

ual favors, but the conflict between church-and-state prevented a claim for “malpractice,” or

breach of fiduciary duty, because of the “constitutionally dubious task of setting a standard of

reasonable care for clergymen engaged in counseling.” Id. at 324, 326. Though egregious, the

claim was for pastoral mis-conduct,24 and barred by the First Amendment. The Court held that

“differing theological views” made it “impractical, and quite possibly unconstitutional to impose

a duty of care on pastoral counselors” because “[s]uch a duty would necessarily be intertwined

with . . . religious philosophy . . . or ecclesiastical teachings.” Id. at 328 (quoting Nally v. Grace

Community Church of the Valley, 47 Cal.3d 278, 299 (1988)).

           Though the “independently tortious, indeed criminal, sexual abuse allegedly perpetrated

by the defendant, id. at 326, was real, so too was the threat to constitutional principles real. Id. at

328. In practical terms, jury instructions would require the Court to define the clergy’s duty of

care according to community standards inherent in religious beliefs; “[t]his is as unconstitutional

as it is impossible.” Id. Plaintiffs’ allegations create the same dilemma in this case.

           Nally too demonstrates the practical difficulty of enforcing Plaintiffs’ theory of liability.

Plaintiffs’ son, Kenneth Nally, committed suicide and they sued his church and pastors for “cler-


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     Note that Schmidt’s intentional tort claims were time-barred. Id., 779 F. Supp. at 324.


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gyman malpractice,” in failing to prevent the suicide. Nally, at 283. The church gave only “pas-

toral” counseling, and was not a source for professional counseling. Id. at 284. Following hospi-

talization for a suicide attempt by prescription overdose, after his girlfriend broke-up with him,

Nally, who had prior suicidal ideation at UCLA, became despondent, sought pastoral counseling,

was recommended for in-patient psychiatric care that he and his parents rejected, met with psy-

chologists and psychiatrists, and ultimately committed suicide after his next girlfriend rejected

his marriage proposal. Id. at 285 – 287. The Plaintiffs blamed the pastors’ religious guidance

for Nally’s suicide because it conflicted with his Catholic background, exacerbated his “pre-

existing feelings of guilt, anxiety and depression,” and generally did not do what they should

have done to prevent his suicide. Id. at 287 – 288.

       While the Court of Appeal allowed a cause of action for “negligent failure by a non-

therapist counselor to prevent suicide,” it could point to no authority for such a duty, or demon-

strate causation on the facts. Id. at 292. The Supreme Court, however, required “a legal duty,

imposed by statute, contract or otherwise, owed by the defendant to the person injured.” Id.

       Without such a duty, any injury is ‘damnum absque injuria’ — injury without
       wrong. Thus, in order to prove facts sufficient to support a finding of negligence,
       a plaintiff must show that defendant had a duty to use due care, that he breached
       that duty, and that the breach was the proximate or legal cause of the resulting in-
       jury.

Id. The California test is essentially the same as Louisiana’s duty/risk analysis. “[T]he court

must make a policy decision in light of the unique facts and circumstances,” and determine

“whether . . . any law (statutory, jurisprudential, or arising from general principles of fault) . . .

support[s] the claim[ed] . . . duty.” Lemann v. Essen Lane Daiquiris, Inc., 05-1095 (La. 3/10/06),

923 So. 2d 627, 633. Compare with Nally at 296 – 297 (causal connection with conduct and the

injury, foreseeability of the particular harm, and policy concerns).

       The plaintiffs in Nally and Schmidt alleged a breach of a “special,” pastoral relationship



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as the proximate cause. Nally at 292 – 293; Schmidt at 324. Whereas in this case, the Plaintiffs,

though alleging “custody and control” (see footnote 1, supra), cannot show a breached “special”

relationship that caused their mother’s fall. Schmidt posed little doubt about damages from the

pastor’s sexual abuse of a twelve year old until she was forty-one and in therapy. Id. In Nally,

there was counseling, but there was no special relationship to base any duty to prevent suicide,

Nally at 293 – 296, which shows the similarities between Nally and this case.

        The connection between the pastors’ conduct and Nally’s suicide was “tenuous at best”

because he was under the care of physicians. Id. at 297. Also, his attempted suicide made his

actual suicide foreseeable, but not sufficiently to charge a non-professional with a duty to pre-

vent it, especially when such a duty would require regulating religious philosophy and ecclesias-

tical teaching. Id. at 297 – 299. Here, the connection with elders’ conduct and Patsy Maddox’

fall is “tenuous at best” because she arrived late and the reserved seats were full. Moreover,

Plaintiffs do not allege that the elders had custody and control from which a duty arose; they al-

lege that the elders should have taken custody and control over their mother to prevent any harm

to her. There is no such duty in law or Scriptures.

        Plaintiffs’ theory of liability demands this Court to legally enforce the Scriptural admoni-

tion to care for widows, the elderly and the disabled.46 How would the Court establish such a

duty? Would it apply the Scriptures and strike out on its own, or would it follow the U. S. Su-

preme Court and other courts and stay out of ecclesiastical decisions? Plaintiffs can point to no

legal guidance here. How elders shepherd their flock is solely a matter for interpretation of

Scripture and not a matter of law. The Court cannot entertain discovery into these areas without

engaging in ecclesiastical judgments that the U. S. Constitution forbids it to make. It must grant

the motion to protect Defendant and the witnesses Plaintiffs seek to depose against intrusion into

46
  See Huguley, 85-2, pp. 114 – 116; 122 – 125; 186 – 189 concerning religious principles, particularly 1 John 3:17,
id. p. 123, l. 12, and the keeping of “lists,” id., pp. 186 -189.


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their Scripturally-based conduct.

       B. NO DISCOVERY INTO FINANCES.

               1. Plaintiffs’ written discovery into finances.

       Included herewith are Defendant’s Responses to Plaintiffs’ Interrogatories, Requests for

Production, and Requests for Admission, with objections (Document 85-5). Defendant seeks

protection from disclosure of the financial information sought in Interrogatories Nos. 6, 12(C),

(D) and (E), Requests for Production Nos. 5, 8, 9, Requests for Admission Nos. 12 and 14.

Plaintiffs seek to delve into voluntary and anonymous donations and the general financial infor-

mation of Defendant that (1) have nothing to do with the issues in this case and (2) are constitu-

tionally protected from discovery.

               2. Questions about donations in Huguley’s deposition.

       Plaintiffs’ counsel inquired to whom the donations from the July 2011 convention were

paid and for what they were used. Huguley, 85-2, p. 100, ll. 1 – 25. He asked about records for

congregation donations and local donations, and about receipts or statements for donations over

$250. Id., p. 114, ll. 1 – 20. On page 129 Counsel referenced “Exhibit 1” (Document 59-1, pp.

11-18 of 18) about the request to make checks payable to “Christian Congregation of Jehovah’s

Witnesses,” if Mr. Huguley’s congregation received any of those funds, who decided what to do

with them, and whether those who did know were appointed from New York. Id., p. 129, l. 12 –

p. 130, l. 5. Counsel also asked whether the district convention published amounts raised from

donations and who accounted for the donated money. Id., p. 131, ll. 11 – 18.

               3. The law does not allow discovery into finances.

       Fed. R. Civ. Pro. 26(b)(1) provides that “[p]arties may obtain discovery regarding any

non-privileged matter that is relevant to any party's claim or defense.” Id. The Rule specifies

that “[r]elevant information need not be admissible at the trial if the discovery appears reasona-



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bly calculated to lead to the discovery of admissible evidence.” Id. While discovery is treated

broadly and liberally to provide adequate information for litigants, Herbert v. Lando, 441 U.S.

153, 176, 99 S. Ct. 1635, 60 L. Ed. 2d 115 (1979), it has “ultimate and necessary boundaries,”

Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351, 98 S. Ct. 2380, 57 L. Ed. 2d 253 (1978)

(quoting Hickman v. Taylor, 329 U.S. 495, 507, 67 S. Ct. 385, 91 L. Ed. 451 (1947)); and the

“control of discovery is committed to the sound discretion of the trial court.” Freeman v. United

States, 556 F.3d 326, 341 (5th Cir. 2009).

       “Discovery should be tailored to the issues involved in the particular case.” Robbins v.

Camden City Bd. Of Educ., 105 F.R.D. 49, 55 (D.N.J. 1985). That is, relevance and materiality

set the “ultimate and necessary boundaries” of discovery. Oppenheimer Fund, Inc., supra. The

question here is whether Plaintiffs’ theory of clergy malpractice warrants discovery into Defend-

ant’s finances beyond the deposition questions Willie Huguley has answered and the discovery

responses Defendant has provided to show that no records are kept “by donor” of voluntary do-

nations and that local congregations receive no donation funds from district conventions. Hu-

guley, 85-2, p. 99, l. 2 – p. 100, l. 23 (funds used for convention costs); p. 111, ll. 16 – 18, p.

129, ll. 18 – 23 (no conventions donations to congregation); p. 113, l. 17 – p. 114, l. 29 (volun-

tary, no records); Response to Interrogatory No. 12(C) (donations are anonymous, convention

accounts overseer), (D) (donation boxes, no benefits from donations conferred), (E) (announce-

ments about voluntary donations); and Response to Request for Admission No. 12 (voluntary

and anonymous donations, no records of Patsy Maddox donations).

       In Lane v. Capital Acquisitions, 242 F.R.D. 667 (S.D. Fla. 2005), the court refused to

compel production of the defendant’s financial records in aid of the plaintiffs’ claim for overtime

wages, wrongful discrimination, and “to determine whether any judgment in this case is recover-

able, and to what extent from whom.” Id. at 669. Rejecting the request for financial discovery,



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the court said, “With respect to the FLSA claim, Defendants' financial ability to settle this action

or satisfy a judgment is not relevant to the issue of whether Defendants improperly failed to pay

Plaintiffs for overtime hours.” Id. So, too, Plaintiffs’ demand for Defendant’s and non-parties’

financial information is wholly unrelated to Plaintiffs’ allegations that their mother was injured

as a result of negligence in the conduct of a district convention. With regard to the ability to sat-

isfy a judgment, that issue is moot because Plaintiffs added Defendant’s insurance company, Old

Republic, as a co-defendant under Louisiana’s direct-action statute.

       The law on pre-judgment discovery of a defendant’s finances has been long-settled. Cf.

Ranney-Brown Distributors, Inc. v. E.T. Barwick Indus., Inc., 75 F.R.D. 3, 4 (S.D. Ohio 1977)

(“[o]rdinarily, Rule 26 will not permit the discovery of facts concerning a defendant’s financial

status, or ability to satisfy a judgment, since such matters are not relevant, and cannot lead to the

discovery of admissible evidence;” plaintiff had a judgment); see Bogosian v. Gulf Oil Corp.,

337 F. Supp. 1228, 1230 (E.D. Pa. 1971) (discovery of net worth to pay costs “not proper since

they are not relevant to the subject matter of the lawsuit”); see also Grosek v. Panther Transpor-

tation, Inc., 251 F.R.D. 162 (M. D. Pa. 2008) (the issue is relevancy).

       Wilson v. Gillis Advertising Co., 145 F.R.D. 578 (N.D. Ala. 1993), held that the defend-

ant’s financial status is not discoverable until after liability is determined. In Wilson, the court

applied Alabama law, prevented discovery of net worth, and barred plaintiff from presenting fi-

nancial evidence to the jury before a verdict on punitive damages. Id. at 582. Plaintiffs here

claim Louisiana remedies but Defendant has demonstrated for the Court in its summary judg-

ment motion (Document 70-3) that Alabama law must control. Federal courts have held that pre-

trial discovery of financial information requires some showing of entitlement to punitive damag-

es. E.g., D'Onofrio v. Sfx Sports Group, Inc., 247 F.R.D. 43, 52 – 53 (D.D.C. 2008). Some re-

quire a prima facie showing; others require less, but the question is whether the defendant has



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put its financial condition in issue. Id. at 53. By analogy, Plaintiffs owe a de minimis showing

of cause to probe into Defendant’s and non-parties’ finances, even without Alabama law.

       Note too Woods-Drake v. Lundy, 667 F.2d 1198 (5th Cir. 1982), in which the defendant

had to mitigate punitive damages with proof of net worth. There was no financial discovery;

merely a burden-shifting for defendant to produce financial data to reduce damages.

       Plaintiffs seek financial data for their theory of liability, which is peculiarly similar to

what motivated the Puerto Rican government’s desire for Catholic school financial data for its

tuition inflation investigation in Surinach v. Pesquera de Busquets, 604 F. 2d 73 (1st Cir. 1979).

The First Circuit barred Puerto Rico from digging into religious school finances because it

“failed to show that it [had] pursued its secular objectives in [a] manner which [was] least intru-

sive upon religious concerns.” Id. at 80. Likewise, Plaintiffs have not shown why their secular

discovery objectives in a premises liability case would justify intruding into the finances of reli-

gious organizations when their theory of liability is based on a proposed judicial intrusion into

religious conduct.

       Plaintiffs have not made a case for premises liability, but instead have accused Defendant

and former defendants of breaching an overarching religious duty to have prevented an accident

with no physical cause. With no legal duty to establish liability, they seek this Court’s authority

to regulate religious conduct, claiming that if elders had done more in fulfilling their religious

commission, then their mother would not have fallen. In Grosek the court allowed financial dis-

covery in a claim for punitive damages arising out of a car wreck because it was relevant. 251

F.R.D. at 163, 166, 167. However, there was no financial discovery of non-parties without a

business relationship. Id. at 166. Importantly, too, was the finding that defendant made no

showing of “hardship.” Id. at 167. Whereas, here Defendant has shown demonstrably that

Plaintiffs seek (1) to probe into its and non-parties’ finances on a (2) quest for evidence of an



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“integrated, hierarchical structure;” where there is none; (3) to then find further evidence in their

quest for a “duty” based upon Holy Scripture they allege was breached, (4) for which they would

need further discovery to prove causation, (5) after which they would ultimately ask this Court to

enforce as law a duty built upon a theory of religious liability for which they presently have no

facts. Plaintiffs’ case is a theory in search of facts. They do not have a prima facie case under

any recognized cause of action. They would ask this Court to fashion a cause of action to create

a duty to justify their discovery. This is defined as “bootstrapping” and does not establish the

requisite relevancy under Fed. R. Civ. Pro. 26(b)(1), but it is bootstrapping that requires violating

both religion clauses of the First Amendment.

       C. NO REPETITIVE OR HARASSING QUESTIONS.

       A limited review of the Huguley transcript demonstrates abuse of the deposition process.

Defendant’s Opposition to Plaintiffs’ Motion to Compel Huguley’s deposition is adopted and

incorporated here by reference to add that material here as well. Additionally note, for example,

with the others herein, supra, counsel’s questions about Mr. Huguley’s appointment as coordina-

tor of the body of elders: “… is that an elected position?” Huguley, 85-2, p. 12, ll. 12-13. “How

is it that you are elected or appointed coordinator …?” Id., p. 12, ll. 19-21. “Who appoints you?

Explain that process.” Id., p. 13, ll. 2 and 4. “So to become coordinator, explain to me how you

are named coordinator.” Id., p. 14, ll. 2-4. “Tell me who appointed you as a coordinator of the

English Westwego Congregation and the relationship that you serve as coordinator of this corpo-

ration, Christian Congregation of Jehovah’s Witnesses, Inc.” Id., p. 24, ll. 19-24. “How did you

become the coordinator of the elders at the English Westwego Congregation?” Id., p. 32, ll. 2-4.

“All right. Now, who appointed you as the coordinator of the elders?” Id., p. 49, ll. 1-2. “Your

appointment as coordinator of the body of elders for the English Westwego Congregation came

from New York, correct?” Id., p. 49, ll. 8 & 10-12. “So before the 2011 district convention of



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the Jehovah’s Witnesses in Mobile, Alabama, you were the coordinator of the elders for the Eng-

lish Westwego Congregation.” Id., p. 49, ll. 17-21. “And the English Congregation is the one

over which you are currently the president, right?” “And you also said you were president.” “So

you’re both, congregation president and coordinator, right?” Id. p. 103, ll. 6-8, 10-11, 14-15.

Fed R. Civ. Pro. 26(c) authorizes this Court to protect Mr. Huguley and others from such abusive

tactics, order that Mr. Huguley’s deposition is over, and instruct Plaintiffs’ counsel.

V. CONCLUSION

       For all the foregoing reasons, Defendant Christian Congregation of Jehovah’s Witnesses,

Inc., requests that this Honorable Court issue an order (1) barring Plaintiffs from inquiring into

the religious conduct of elders in the English Congregation of Jehovah’s Witnesses, Westwego,

Louisiana, or other Jehovah’s Witnesses about the tenets of their faith, which are wholly irrele-

vant to these proceedings, (2) prohibiting Plaintiffs from further deposing Willie Huguley, (3)

prohibiting Plaintiffs from inquiring into Defendant’s finances, and (4) instructing Plaintiffs’

counsel to cease repetitive and harassing questioning tactics in depositions.

Dated: 6 May 2013.

                                                      Respectfully submitted,
                                                      By /s/Ted M. Mitchell
                                                      Ted M. Mitchell       La. Bar No. 20964
                                                      2955 Ridgelake Drive, Suite 207
                                                      Metairie, LA 70002-3618
                                                      504-236-3966—voice
                                                      504-273-2220—fax



                                  CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document has been electronically filed with the
Clerk of Court using the CM/ECF system this 6th day May 2013 and notice of this filing will be
sent to all counsel of record by operation of the court's electronic filing system or by mail.
                                              /s/Ted M. Mitchell




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